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DALLAS DIvIsIoN
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UNITED sTATEs oF AMERICA ry '
v. ~ No. 3:17-CR-l69-B

SAID AZZAM MOHAMAD RAHIM Supersedes Indictment Returned on

March 22, 2017.
SUPERSEDING INDICTMENT
The Grand Jury Charges:
ISLAMIC STATE OF IRAO AND AL-SHAM

At all relevant times, there existeda foreign terrorist organization known as,
among other names, the Islamic State of Iraq and al-Sham (“ISIS”). ISIS’s publicly
stated purpose is the establishment of an Islamic state or caliphate based in the Middle
East and Africa that encompasses all Muslims Worldwide.

ISIS has pursued the objective of an Islamic state through, among other things,
indiscriminate killing and deliberate targeting of civilians, mass executions and
extrajudicial killings, persecution of individuals and communities on the basis of their
religion, nationality, or ethnicity, kidnapping of civilians, forced displacement of Shia
communities and minority groups, killing and maiming of children, rape, and other forms
of sexual violence. ISIS has recruited thousands of foreign fighters from across the globe
to assist With its efforts to expand its so-called caliphate in Iraq, Syria, and other locations

in Africa and the Middle East, and has leveraged technology to spread its violent

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extremist ideology and for incitement to commit terrorist acts.

On or about October 15, 2004, the United States Secretary of State designated al-
Qaeda in Iraq (AQI), then known as Jam ‘at al Tawid wa’ al-Jahid, as a Foreign Terrorist
_Organization (FTO) under Section 219 of the Immigration and Nationality Act and as a
Specially Designated Global Terrorist entity under section l(b) of Executive Order
13224.

On or about May 15, 2014, the Secretary of State amended the designation of AQI
as an FTO under Section 219 of the Immigration and Nationality Act and as a Specially
Designated Global Terrorist entity under section l(b) of Executive Order 13224 to add
the alias Islamic State of Iraq and the Levant (lSIL) as its primary name. The Secretary
of State also added the following aliases to the FTO listing: The Islamic State of Iraq and
al-Sham (“ISIS”), The Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-Iraq '
wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furquan Establishment for Media
Production.

On or about September 21, 2015, the Secretary added the following aliases to the
FTO listing: Islamic State, ISIL, and ISIS. To date, lSIS remains a designated FTO§

Among the methods employed and activities undertaken by ISIS’s members and
associates are the following:

a. ISIS members and associates solicit, organize, and carry out acts of
violence, intimidation, and threats, including murders, suicide bombings, and

kidnappings, and solicit and cause others to do so, with the intent to establish a global

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Islamic state.

b. ISIS members and associates make and disseminate recruiting materials
and propaganda encouraging others to join ISIS and personally participate in acts of
violence, including in suicide attacks, materials which are distributed over the lnternet to
increase and further the public perception of ISIS as a terrorist organization These
materials include propaganda designed to encourage ISIS followers to commit acts of
violence. For example, the July 2016 issue of Dabiq, ISIS’s then-official magazine,
praised the “brother” who answered “the Islamic State’s calls to target nations
participating in the Crusader coalition fighting the Caliphate” by “killing more than 80
people and injuring more than 300 others” with a truck in an attack that occurred in Nice,
France, on or about July 14, 2016.

c. ISIS members and associates make and disseminate recruiting materials
and propaganda encouraging others who are unable to travel to the Middle East to instead
conduct attacks in other countries. For example, on or about March 31, 2015, the user of
Twitter account @AbuHuSSain_, believed to be used at the time by an ISIS member
located in Syria, tweeted: “Lone Wolfs Rise Up”; “lf you can’t make the hijrah [i.e.,
travel to the Middle East], dont sit at horne & give up . . . ignite a bomb, stab a kaffir [i.e.,
the disbelievers or non-Muslims], or shoot a politican!”; “if you came here, you’d be on
the frontline fighting, right? But u couldn’t come here, so why not fight the kuffar over
there?”; and “i always see in the media brothers getting caught making hijrah, brothers

know that your jihad is not over just because you got stopped.”

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On or about September 21, 2014, now-deceased ISIS spokesperson Abu
Muhammad al-Adnani called for attacks against citizens - civilian or military - of the
countries participating in the United States-led coalition against ISIS. In addition, in an
audio statement distributed on or about May 21, 2016, al-Adnani called for Ramadan
(which corresponded to June and July 2016) to be “a month of ruin for the nonbelievers”
and urged “soldiers of the caliphate in Europe and America” to carry out attacks and to
target civilians, for “there are no So-called innocents.”

ISIS has disseminated a wide variety of recruiting materials and propaganda
through social media. These include photographs and videos depicting ISIS’s activities,
including beheadings and other atrocities, as well as audio and video lectures by members
of ISIS, including al-Adnani and ISIS leader Abu Bakr al-Baghdadi, and members of

other Islamic extremist organizations

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M_O_IE
False Statement to a Federal Agency
(Violation of 18 U.S.C. § 1001)

On or about March 5, 2017, in the Northern District of Texas, the defendant, Said
Azzam Mohamad Rahim, did knowingly and willfully make a materially false,
fictitious and fraudulent statement and representation in a matter within the jurisdiction of
the Federal Bureau of Investigation and involving international terrorism; that is during
an interview conducted as part of a terrorism investigation, a federal law enforcement
officer asked Rahim the following question: “[H]ave you ever promoted an act of
terrorism?” Rahim responded “No. I have been coming here since 1995. l am clean.”
That statement was false in that Rahim then and there knew that he had promoted an act

of terrorism.

ln violation of 18 U.S.C. § 1001.

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Count Two j

False Statement to a Federal Agency
(Violation of 18 U.S.C. § 1001)

On or about March 5, 2017, in the Northern District of Texas, the defendant, Said
Azzam Mohamad Rahim, did knowingly and willfully make a materially false,
fictitious and fraudulent statement and representation in a matter within the jurisdiction of
the Federal Bureau of Investigation and involving international terrorism; that is during
an interview conducted as part of a terrorism investigation, a federal law enforcement
officer asked Rahim the following question “Do you ever, okay, have you ever praised
an act of terrorism?” Rahim responded “No.” That Statement was false in that Rahim
then and there knew that he had praised an act of terrorism, including the June 12, 2016
terrorist attack in Orlando, Florida, the July 14, 2016 terrorist attack in Nice, France, and
the December 31, 2016 terrorist attack in lstanbul, Turkey.

In violation of l8 U.S.C. § 1001.

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False Statement to a Federal Agency
(Violation of 18 U.S.C. § 1001)
On or about March 5, 2017, in the Northern District of Texas, the defendant, Said
Azzam Mohamad Rahim, did knowingly and willfully make a materially false,
fictitious and fraudulent statement and representation in a matter within the jurisdiction of
the Federal Bureau of lnvestigation and involving international terrorism; that is during
an interview conducted as part of a terrorism investigation, a federal law enforcement
officer asked Rahim, “Okay. Have you ever discussed with anyone travel for the
purpose of jihad?” Rahim responded “Noi” That statement was false as Rahim then and
there well knew that he had discussed with other individuals travel for the purpose of
jihad.

In violation of 18 U.S.C. § 1001.

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Count Four
False Statement to a F ederal Agency .
(Violation of 18 U.S.C. § 1001)

On or about-March 5 , 2017, in the Northern District of Texas, the defendant, Said
Azzam Mohamad Rahim, did knowingly and willfully make a materially false,
fictitious and fraudulent statement and representation in a matter within the jurisdiction of
the Federal Bureau of Investigation and involving international terrorism; that is during
an interview conducted as part of a terrorism investigation a federal law enforcement
officer asked Rahim, “Have you ever been a supporter of the Islamic State, ISIL, ISIS,
Daesh?” Rahim responded “No.” That statement was false in that Rahim then and there
well knew that he has been and was a supporter of ISIS (a/k/a the Islamic State, ISIL or

Daesh.

In violation of 18 U.S.C. § 1001.

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Count Five
False Statement to a Federal Agency
(Violation of 18 U.S.C. § lOOl)

On or about March 5 , 2017, in the Northern District of Texas, the defendant, Said
Azzam Mohamad Rahim, did knowingly and willfully make a materially false,
fictitious and fraudulent statement and representation in a matter within the jurisdiction of
the Federal Bureau of lnvestigation and involving international terrorism; that is during
an interview conducted as part of a terrorism investigation, a federal law enforcement
officer asked Rahim, “Have you ever promoted violence on behalf of the Islamic State,
ISIS, ISIL?”. Rahim responded “No.” That statement was false as Rahim then and
there well knew that he had promoted violence on behalf of ISIS, a/k/a the Islamic State,

or ISIL.

In violation of 18 U.S.C. § 1001.

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_ Count Six
False Statement to'a Federal Agency
(Violation of 18 U.S.C. § 1001)

On or about March 5', 2017, in the Northern District of Texas, the defendant, Said
Azzam Mohamad Rahim, did knowingly and willfully make _a materially false,
fictitious and fraudulent statement and representation in a matter within the jurisdiction of
the Federal Bureau of Investigation and involving international terrorism; that is during
an interview conducted as part of a terrorism investigation, a federal law enforcement
officer asked Rahim, . . Okay. Have you yourself ever encouraged anyone to follow
[the] guidance of Abu Mohammed Al Adnani, including his instruction to kill infidels
without consultation or permission?” Rahim responded “No, no.” That statement was
false in that Rahim then and there well knew that he had encouraged people to follow the

guidance of Abu Mohammand Al-Adnani, including Al-Adnani’s instructions to kill.

In violation of 18 U.S.C. § 1001.

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Count Seven
Attempting to Provide Material Support to a Designated Foreign lTerrorist Organization
(Violation of 18 U.S.C. §§ 2339B and)

Beginning in or around October 2014 and continuing through March 2017, in the
Northern District of Texas and elsewhere, the defendant,' Said Azzam Mohamad
Rahim, did knowingly attempt to provide material support or resources, including
services and personnel, to a foreign terrorist organization, namely ISIS, knowing that
ISIS is a designated terrorist organization and that ISIS has engaged, and engages in,

terrorist activity and terrorism.

In violation of 18 U.S.C. §§ 2339B and 2.

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A TRUE BILL

 

FOREPERSON

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

V.

SAID AZZAM MOHAMAD RAHIM (01)

 

SUPERSEDING INDICTMENT

18 U.S.C. § 1001
False Statement to a Federal Agency
6 COUNTS

18 U.S.C. § 2339B
Attempting to Provide Material Support to a Designated Foreign Terrorist Organization
l COUNT

 

A true bill rendered

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FORT WORTH U…

Filed in open court this 14th day of February, 2018.

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Defendant in Federal Custody since /08/06/20 7. }
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UNITED STAT S MAGISTRATE JUDGE

 

 

 

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